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 1                                         ATTACHMENT A(5)
 2                              Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4         1.        Nine of the named defendants have filed answers to the Third Amended Complaint

 5 [1046 Dkt. No. 506], pursuant to the Court’s order granting Defendant Rosa Bianca Loli’s (“Loli”)

 6 motion to dismiss with leave to amend. Those defendants include Daniel March; Scott Eadie;

 7 Consumer Legal Group, PC; LGS HoldCo., LLC; Eng Taing; Touzi Capital, LLC; Fidelity National

 8 Information Services, Inc. dba FIS; Worldpay; and Optimum Bank Holdings, Inc. dba Optimum

 9 Bank.

10         2.        Greyson filed a meritless motion to dismiss the Third Amended Complaint [1046 Dkt.

11 No. 513] based on the false assumption the Trustee failed to obtain leave of Court to file a Third

12 Amended Complaint as more thoroughly discussed in the Trustee’s opposition being filed

13 concurrently herewith.

14         3.        Loli has also filed a second motion to dismiss as to the Third Amended Complaint

15 [1046 Dkt. No. 522] which was denied in part and granted in part. The Trustee has timely filed his

16 Fourth Amended Complaint curing any purported defects in its pleading against Loli as to his cause

17 of action for Negligence.

18         4.        Pursuant to the Court’s order approving Trustee compromise [Bank. Dkt. 1035]

19 Maverick Bankcard, Inc. will be dismissed from the 1046 Action.

20         5.        Trustee has dismissed the United States Postal Services (USPS) in light of its

21 compliance with the TRO and Preliminary Injunction in redirecting mail [Dkt. 103] and Phoenix Law

22 Group, Inc. (as erroneously named) [Dkt. 119].

23         6.        By way of stipulated judgment, Trustee has been authorized to dismiss, without

24 prejudice William Taylor “Ty” Carss, and Mariah Eeya Tan. That dismissal was submitted on

25 November 8, 2023 [Dkt. 270].

26         7.        In addition, Trustee has requested dismissal of Occam’s Advisory, Inc., Teracel

27 Blockchain Fund, LLC, and Chris Winslow pursuant to Federal Rules of Bankruptcy Procedure Rule

28 41(a)(1)(A)(i).     These defendants have not answered or otherwise appeared, and Trustee’s
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 1 investigation has indicated they are not proper targets of the instant action. That dismissal was

 2 submitted on November 8, 2023 [Dkt. 270].

 3          8.     Trustee has also requested dismissal of B.A.T., Inc. d/b/a Coast Processing, Guardian,

 4 Maverick Management, LLC, Eng Tang and World Pay, Inc. pursuant to Federal Rules of Bankruptcy

 5 Procedure Rule 41(a)(1)(A)(i). These defendants have not answered or otherwise appeared and

 6 Trustee’s investigation has indicated that they were erroneously named. Each of these defendants has

 7 been properly re-named pursuant to Trustee’s First Amended Complaint [Dkt. 62]. That dismissal

 8 was submitted on November 8, 2023 [Dkt. 270].

 9          9.     The Court has entered a stipulated order to dismiss Defendants Han Trinh and Jayde

10 Trinh [Dkt. 219]. Trustee intends to file separate adversary proceedings as to these dismissed

11 defendants.

12          10.    The Court entered an order dismissing Marich Bein, LLC and BankUnited, N.A. from

13 the 1046 Action in order to sever the trustee’s claims [1046 Dkt. No. 446].

14          11.    Four named defendants have yet to be served, including EPPS, Authorize.net, Equipay

15 and World Global. As to these defendants, Trustee intends to request another summon based on the

16 filing of Trustee’s Third Amended Complaint [Dkt. 506].

17          12.    The Court previously entered default as to Defendants Vulcan Consulting Group, LLC

18 [Dkt. 144]; Wes Thomas [Dkt. 145]; Jimmy Chhor [Dkt. 174]; Oakstone Law Group, PC [Dkt. 177];

19 Prime Logix, LLC [Dkt. 179]; Revolv3, Inc. [Dkt. 180]; and Guardian Processing, LLC [Dkt. 181].

20 That said, Trustee will be filling renewed requests for default based on the Second Amended

21 Complaint as to all defendants that have not answered or sought an extension of time that has been

22 approved by order of the Court.

23          13.    Trustee, with the assistance of the Court employed financial accountants Grobstein

24 Teeple, LLP [Dkt. 169], is working diligently to complete its forensic account in order to prepare and

25 file for default judgment, as appropriate given this matter remains in the early stages of discovery.

26 Trustee awaits production of bank records pursuant to issued 2004 examinations before completing

27 these default judgments.

28 / / /
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 1          14.    As to the remaining defendants, Trustee has either had entered into a stipulation filed

 2 with the Court for extension of time to respond to the Adversary proceeding pending further meet and

 3 confer efforts and informal discovery, intends to dismiss or file for entry of default based on the

 4 Trustee’s Third Amended Complaint.

 5          15.    Trustee remains vigilant and focused on maximizing recovery of all of LPG assets to

 6 the Debtor’s Estate for the benefit of all creditors, including consumer creditors. That said, Trustee

 7 has and continues to work with Defendants in good faith to obtain discovery, records and work

 8 towards resolution of the claims raised in the Third Amended Complaint.

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 1                                           ATTACHMENT G
 2                              Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4          1.      At this time there are a total of sixteen named defendants who have either: 1) answered;

 5 2) filed a stipulation for an extension to respond; 3) yet to be served; 4) have not had and are not

 6 likely to have a default entered against them; and 5) have not been and are not anticipated to be

 7 dismissed at this time. Based on the sheer number of defendants, discovery, preparation and length

 8 of trial in this matter is expected to exceed normal expectations. That said, Trustee is diligently

 9 working with all defendants to obtain informal discovery and work towards potential resolution in

10 order to narrow the scope of discovery and trial in this matter, as the information provided to Trustee

11 permits.

12          2.      Based on the documents produced to the Trustee to date, there are over 100 million

13 individual electronically stored documents that the Trustee is diligently working through to review.

14          3.      In an effort to stay in front of the enormous volume of discovery necessary to recover

15 assets under the Trustee’s Third Amended Complaint in this Adversary Proceeding, Trustee has taken

16 reasonable steps in light of the recent sale of LPG’s assets and based on the information to date to

17 stay in front of discovery. In this regard, Trustee has served a number of subpoenas to targeted

18 institutions in order to continue efforts to trace and recover Estate property.

19          4.      Trustee has completed the 7026 conference as to answering Defendants, Consumer

20 Legal Group, PC, LGS HoldCo, LLC, Eng Taing, Touzi Capital, LLC, Scott Eadie and Daniel March.

21          5.      Trustee has filed a separate adversary proceedings as to: 1) newly named defendants

22 for fraudulent conveyance and avoidance of Estate property; 2) standalone claims recently discovered

23 against named defendants; and claims severed from the 1046 Action including those against certain

24 Defendants, Marich Bein and BankUnited whose involvement are significantly related.

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT [LBR 7016-1(a)(2)] will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 3,
2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Keith Barnett                                                              keith.barnett@troutman.com
on behalf of Defendant Payliance, LLC                                      kelley.wade@troutman.com

                                                                         Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On July 3, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                        JUDGE'S COPY
                                                  Honorable Scott C. Clarkson
                                   United States Bankruptcy Court. Central District of California
                                        Ronald Reagan Federal Building and Courthouse
                                       411 West Fourth Street, Suite 5130 / Courtroom 5C
                                                   Santa Ana, CA 92701-4593

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 3, 2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 3, 2024              Angelica Urena                                            /s/ Angelica Urena
 Date                        Printed Name                                            Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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on behalf of Interested Party Courtesy NEF                                 G63723@notify.cincompass.com
Christopher Celentino                                                      christopher.celentino@dinsmore.com
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Christopher Celentino                                                      christopher.celentino@dinsmore.com
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Leslie A Cohen                                                             leslie@lesliecohenlaw.com
on behalf of Interested Party Courtesy NEF                                 jaime@lesliecohenlaw.com
                                                                           clare@lesliecohenlaw.com
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on behalf of Defendant Fidelity National Information                       tbreeden@bakerlaw.com
Services, Inc. dba FIS
Alan W Forsley                                                             Alan.forsley@flpllp.com
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Jeremy Freedman                                                            jeremy.freedman@dinsmore.com
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Jeremy Freedman                                                            jeremy.freedman@dinsmore.com
on behalf of Trustee Richard A. Marshack (TR)
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on behalf of Trustee Richard A. Marshack (TR)                              nicolette.murphy@dinsmore.com
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Richard H Golubow                                                          rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 1, LLC                                   jmartinez@wghlawyers.com
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Richard H Golubow                                                          rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 2, LLC                                   jmartinez@wghlawyers.com
                                                                           svillegas@wghlawyers.com
Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc.
Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc. dba FIS

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on behalf of Defendant Gallant Law Group                                   ssanchez@fsl.law
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Meredith King                                                              mking@fsl.law
on behalf of Interested Party Courtesy NEF                                 ssanchez@fsl.law
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Daniel A Lev                                                               daniel.lev@gmlaw.com
on behalf of Defendant LGS Holdco, LLC                                     cheryl.caldwell@gmlaw.com
                                                                           dlev@ecf.courtdrive.com
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                                                                           jnavarro@lesnickprince.com
Douglas A Plazak                                                           dplazak@rhlaw.com
on behalf of Defendant Scott James Eadie
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on behalf of Defendant Touzi Capital, LLC                                  dhr@ecf.inforuptcy.com


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